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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England Jr.          RE: Ramiro Valenzuela Garcia
Chief United States District Judge             Docket Number: 0972 2:10CR00347-010
Sacramento, California                         PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:


Ramiro Valenzuela Garcia is requesting permission to travel to Cancun, Mexico.                 Ramiro
Valenzuela Garcia is current with all supervision obligations, and the probation officer
recommends approval be granted.


Conviction and Sentencing Date:      On September 25, 2014, Ramiro Valenzuela Garcia was
sentenced for the offense of 21 USC 843(b), Unlawful Use of a Communication Facility, a Class
E Felony.


Sentence Imposed: 12 months stayed pending successful completion of 12 months of electronic
monitoring, 12 months supervised release. Special conditions include: Search and seizure;
Financial disclosure; No new lines of credit; Drug and alcohol treatment; Aftercare testing;
Aftercare co-payment; No firearms; DNA collection; $100 Special Assessment (paid)


Dates and Mode of Travel: May 13 – 19, 2016, via Southwest Airlines


Purpose: Honeymoon




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                                                                                              REV. 06/2015
                                                               TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 2:10-cr-00347-DAD Document 496 Filed 02/16/16 Page 2 of 2
RE:      Ramiro Valenzuela Garcia
         Docket Number: 0972 2:10CR00347-010
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                       /s/ Sarah L. Kirk

                                     SARAH L. KIRK
                               United States Probation Officer


Dated:    February 11, 2016
          Fresno, California
          /rmv
                             /s/ Tim D. Mechem
 REVIEWED BY:              TIM D. MECHEM
                           Supervising United States Probation Officer




                                ORDER OF THE COURT

          ☒     Approved        ☐      Disapproved

Dated: February 12, 2016




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                                                                                                REV. 06/2015
                                                                 TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
